

People v Bowen (2023 NY Slip Op 50473(U))



[*1]


People v Bowen (Andre)


2023 NY Slip Op 50473(U) [78 Misc 3d 135(A)]


Decided on May 16, 2023


Appellate Term, First Department


Published by New York State Law Reporting
Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and will not be
published in the printed Official Reports.



Decided on May 16, 2023
SUPREME COURT, APPELLATE TERM, FIRST
DEPARTMENT

PRESENT: Hagler, P.J., Tisch, Michael, JJ.



570178/22

The People of the State of New
York, Appellant,
againstAndre Bowen,
Defendant-Respondent.




The People appeal from an order of the Criminal Court of the City of New York,
Bronx County (Shari Ruth Michels, J.), dated February 18, 2022, which granted
defendant's motion to suppress physical evidence and statements.




Per Curiam.
Order (Shari Ruth Michels, J.), dated February 18, 2022, affirmed.
The court properly granted defendant's suppression motion. There is no basis for
disturbing the court's credibility determinations (see People v Prochilo, 41 NY2d
759, 761 [1977]).  The court chose to discredit police testimony because the officer's
observations were "plainly belied by what is depicted on the ... [officer's] body-worn
camera video as well as ... the I.D.T.U video." That finding was supported by the record
and was not manifestly erroneous (see People v Martin, 112 AD3d 453, 454
[2013]; People v Johnson, 21 AD3d 832 [2005]). 
THIS CONSTITUTES THE DECISION AND ORDER OF THE COURT.
I concur I concur I concur
Decision Date: May 16, 2023









